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                           UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA


UNITED STATES OF AMERICA                    :
                                            :
              v.                            :       Crim No. 22-cr-132 (EGS)
                                            :
ANTHIME JOSEPH GIONET,                      :
                                            :
                      Defendant.            :

                                NOTICE OF WITHDRAWAL

       Pursuant to Local Rule of Criminal Procedure 44.5, please notice the withdrawal of

Elizabeth Aloi as counsel for the Government in this matter.


                                            Respectfully submitted,

                                            MATTHEW M. GRAVES
                                            United States Attorney
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                                     By:    /s/ Elizabeth Aloi
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